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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
vs.                                         )         NO. CR 07-1927 BB
                                            )
ALONSO P. GRADO,                            )
                                            )
              Defendant.                    )


                  ORDER DISMISSING SUPERSEDING INDICTMENT

      THIS MATTER having come before the Court on the written Motion of the United

States, for an Order dismissing the Superseding Indictment as to Defendant, and the Court

being fully advised in the premises, FINDS that the motion is well taken and should be

granted;

      IT IS THEREFORE ORDERED that the Superseding Indictment is hereby dismissed

without prejudice as to Defendant ALONSO P. GRADO.

      IT IS FURTHER ORDERED that the clerk shall provide two certified copies of this

order to the United States Marshal as authority to proceed hereunder.




                                                _________________________________
                                                HONORABLE BRUCE D. BLACK
                                                United States District Judge
